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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 1:14-cr-00101-AWI-BAM
12                                 Plaintiff,
                                                            STIPULATION AND ORDER
13                 v.                                       REGARDING CONTINUANCE AND
                                                            EXCLUDABLE TIME PERIODS
14   NATALIE MIDDLETON,                                     UNDER SPEEDY TRIAL ACT
15                                 Defendant.
16
                                                STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through her counsel of record, hereby stipulate as follows:
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20          1.      By previous order, this matter was set for a hearing on her motion for June 22, 2015,

21 at 10:00 a.m. The matter was later continued to June 29 upon motion of the defendant to allow

22 additional time to file her response. The government’s response is currently due June 5 and the
23
     defendant’s reply is due June 19.
24
            2.      By this stipulation, the parties agree to continue the hearing date until July 20, 2015,
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     at 10:00 a.m. and to exclude time between June 29, 2015, and July 20, 2015. The parties also agree
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27 that the government may file its response on or before June 26 and the defendant may file her reply

28 on or before July 10.
                                                        1
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            3.      The parties agree and stipulate, and request that the Court find the following:
 1
            a.      A continuance is required to accommodate the work schedule of counsel for the
 2

 3 government. Recently, a trial was set on June 30 in the matter of United States v. Bowser, 1:15CR88

 4 LJO, following the defendant’s request for a speedy trial in that case. Counsel for the government is

 5 assigned to the prosecution of Defendant Bowser. The government also has a prescheduled vacation

 6
     scheduled for June 5 through June 15. The government requires additional time to respond to the
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     defendant’s motion in this case in order to effectively prepare for the Bowser trial. The defense is
 8
     not opposed to a continuance.
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10          b.      The parties believe that failure to grant the above-requested continuance would deny

11 the government the opportunity to effectively prepare a response to the defendant’s motion.

12          d.      Based on the above-stated findings, the ends of justice served by continuing the case
13 as requested outweigh the interest of the public and the defendant in a trial within the original date

14
     prescribed by the Speedy Trial Act.
15
            e.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
16
     seq., within which trial must commence, the time period of June 29, 2015, to July 20, 2015,
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18 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(B)(ii) , (7)(A), and B(iv) because

19 the case has been deemed complex, it would deny the government the continuity of counsel, and it
20 results from a continuance granted by the Court at the parties’ request on the basis of the Court's

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     finding that the ends of justice served by taking such action outweigh the best interest of the public
22
     and the defendant in a speedy trial.
23
            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
24
     the Speedy Trial Act dictate that additional time periods are excludable from the period
25
26 within which a trial must commence.

27 IT IS SO STIPULATED.

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     DATED:     June 2, 2015.   Respectfully submitted,
 1
                                BENJAMIN B. WAGNER
 2                              United States Attorney
 3
                                /s/ Karen A. Escobar___________________
 4                              KAREN A. ESCOBAR
                                Assistant United States Attorney
 5

 6

 7 DATED:       June 2, 2015.
 8                              /s/ Andras Farkas
                                ANDRAS FARKAS
 9                              JANET BATEMAN
                                Counsel for Defendant Middleton
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11                                     ORDER
12 IT IS SO ORDERED.

13 Dated: June 2, 2015

14                                    SENIOR DISTRICT JUDGE

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